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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


FREE SPEECH FOR PEOPLE
1320 Centre Street #405
Newton, MA 02459,

CAMPAIGN FOR ACCOUNTABILITY
611 Pennsylvania Ave SE #337
Washington, D.C. 20003,

                    Plaintiffs,
                                              Civil Action No. 21-cv-3206
             v.


FEDERAL ELECTION COMMISSION
1050 First Street NE
Washington, DC 20463,

                    Defendant.



      COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                  INTRODUCTION

      1.    Plaintiffs Free Speech For People and Campaign for Accountability are

nonpartisan, nonprofit watchdog groups. They bring this action against the Federal

Election Commission (“FEC”) for declaratory and injunctive relief under the Federal

Election Campaign Act (“FECA”), 52 U.S.C. § 30109(a)(8)(A).

      2.    On December 16, 2016—more than 1,800 days ago—Plaintiffs filed

before the FEC an administrative complaint against the Government of the Russian

Federation (“Russian Federation”) and Donald J. Trump for President, Inc. (“Trump

Campaign”), alleging violations of FECA during the 2016 election.



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      3.     The main focus of FECA is the money: who paid, how much, to whom,

and when. Under FECA, foreign entities are prohibited from spending any money to

influence U.S. elections. And just as Al Capone was obligated to pay taxes on illegal

income, even illegal political spending—recipients, dates, amounts, and purposes—

must be publicly disclosed.

      4.     Plaintiffs’ administrative complaint, as amended, alleged that, for the

purpose of influencing the 2016 presidential election, the Russian Federation had:

paid hackers to hack into Democratic National Committee servers and leak the

hacked information; paid people to make social media posts; and paid for political

advertisements. The administrative complaint also alleged that the Russian

Federation did not disclose any of this spending. Finally, the administrative

complaint also alleged that at least some of the Russian Federation’s political

spending was “coordinated” with the Trump Campaign.

      5.     In federal election law, the term “coordinated” has a specific meaning

that is distinct from other terms, such as conspiracy. “Coordination” under FECA

and its regulations does not require agreement or formal collaboration; coordination

occurs when spending is made “in cooperation, consultation or concert with, or at

the request or suggestion of” a candidate, his committee, or his agent, and even in

some circumstances short of that. 52 U.S.C. § 30116(a)(7)(B)(i); 11 C.F.R. §§ 109.20-

21. And when political spending by an outside entity is “coordinated” with a

campaign, the campaign is also obligated to disclose the dates, amounts, and

purposes of that spending. 11 C.F.R. §§ 109.20, 109.21(b)(1)-(2).




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      6.      Since the filing of the administrative complaint, some new information

has emerged. But other investigations, pursuing different angles for different

purposes and with different mandates, have not focused on bringing transparency

to campaign financing—the FEC’s mandate. Even today, despite multiple

investigations, critical information about the money spent in the 2016 election is

still unknown. How much did the Russian Federation spend? When and for which

efforts did it make the payments? How much (and which) of that spending was

“coordinated” with the Trump campaign?

      7.      Upon receiving Plaintiffs’ administrative complaint, the FEC was

charged with answering these questions in determining whether there was a reason

to believe that a violation of FECA had occurred.

      8.      Under 52 U.S.C. § 30109(a)(8)(A), if the FEC fails to act on an

administrative complaint within 120 days, the complainant may file an action in

this Court challenging the FEC’s delay as contrary to law.

      9.      As of today, over 1,800 days have passed since Plaintiffs filed their

administrative complaint.

      10.     Plaintiffs ask the Court to declare that the FEC’s failure to act on the

administrative complaint is contrary to law, and order the FEC to conform with this

declaration within 30 days under 52 U.S.C. § 30109(a)(8)(C).

                           JURISDICTION AND VENUE

       11.    This Court has both subject matter jurisdiction over this action and

personal jurisdiction over the parties under 52 U.S.C. § 30109(a)(8)(A) and/or 5




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U.S.C. § 702. This Court also has jurisdiction over this action under 28 U.S.C.

§§ 1331, 2201(a), and/or 2202.

      12.    Venue lies in this district under 52 U.S.C. § 30109(a)(8)(A), 28 U.S.C.

§ 1391(e), and/or 5 U.S.C. § 703.

                                     PARTIES

      13.    Plaintiff Free Speech For People is a national non-partisan, non-profit

501(c)(3) organization that works to restore republican democracy to the people,

including through legal advocacy concerning the law of campaign finance. Its

supporters around the country engage in education and non-partisan advocacy to

encourage and support effective government of, by, and for the people, including

through efforts to identify and combat foreign influence in our elections.

      14.    Plaintiff Campaign for Accountability is a national non-partisan, non-

profit 501(c)(3) organization that uses research, litigation, and communications to

expose misconduct and malfeasance in public life. It works to bring transparency to

government and corporate actors and reform the campaign finance system to

eliminate the corruption that flows from unlimited spending.

      15.    Defendant Federal Election Commission is an independent federal

agency charged with the administration and civil enforcement of FECA. 52 U.S.C.

§ 30106.

              STATUTORY AND REGULATORY BACKGROUND

              Campaign Spending and Disclosure Requirements

      16.    Under FECA and FEC regulations, it is unlawful for “a foreign

national, directly or indirectly, to make a contribution or donation of money or


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other thing of value. . . in connection with a Federal . . . election,” or make an

“expenditure” to influence a federal election. 52 U.S.C. §§ 302121(a)(1)(A), (C); 11

C.F.R. §§ 110.20(b), (f). An “expenditure” includes “any purchase, payment,

distribution, loan, advance, deposit, or gift of money or anything of value, made by

any person for the purpose of influencing any election for Federal office.” 52 U.S.C.

§ 30101(9)(A).

      17.    Any person that is not a political committee that makes independent

expenditures exceeding $250 for a particular election in a calendar year “shall file a

verified statement or report on FEC Form 5 in accordance with 11 CFR 104.4(e)

containing the information required by [11 C.F.R. § 109.10(e)].” 11 C.F.R.

§ 109.10(b). If the aggregated expenditures exceed $10,000 per election for a

particular election up to and including the 20th day before an election, the person

making the independent expenditures “must report the independent expenditures

on FEC Form 5, or by signed statement if the person is not otherwise required to

file electronically under 11 CFR 104.18.” 11 C.F.R. § 109.10(c).

      18.    Under FECA and FEC regulations, expenditures that are

“coordinated” between an outside party and a campaign or candidate are generally

deemed to be both in-kind contributions to, and expenditures by, the campaign. 52

U.S.C. § 30116(a)(7)(B)(i); 11 C.F.R. §§ 109.20(b), 109.21(b)(1).

      19.    A third-party expenditure is deemed to be “coordinated”—and

therefore an in-kind contribution—if it is “made by any person in cooperation,

consultation, or concert, with, or at the request or suggestion of, a candidate, his




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authorized political committees, or their agents.” 52 U.S.C. § 30116(a)(7)(B)(i); 11

C.F.R. § 109.20(a) (“Coordinated means made in cooperation, consultation or

concert with, or at the request or suggestion of, a candidate, a candidate's

authorized committee, or a political party committee.”).

      20.    In Section 214 of the Bipartisan Campaign Reform Act of 2002,

Congress instructed the FEC to promulgate detailed regulations regarding

coordinated communications, but specifically provided that “[t]he regulations shall

not require agreement or formal collaboration to establish coordination.” 116 Stat.

81, 95 (emphasis added).

      21.    Under FEC regulations promulgated under this directive, a

“coordinated communication” is a third-party expenditure that meets at least one

“content standard” and one “conduct” standard. See 11 C.F.R. §§ 109.21(a)(1)-(3).

“Agreement or formal collaboration . . . is not required for a communication to be a

coordinated communication.” Id. § 109.21(e).

      22.    A payment for a communication made for the purpose of influencing a

federal election that meets the definition of “coordinated communication” under 11

C.F.R. § 109.21, or is an “expenditure” that is “made in cooperation, consultation or

concert with, or at the request or suggestion of, a candidate, a candidate’s

authorized committee” or an agent thereof, but does not meet the definition of

“coordinated communication,” must be reported as an expenditure by the candidate

whom it was intended to benefit, and is deemed, expect in specific circumstances,

as an in-kind contribution to that candidate. 11 C.F.R. §§ 109.20, 109.21(b)(1)-(2).




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      23.    Any political committee, including a candidate committee, that

receives a contribution (including the value of an in-kind contribution) exceeding

$200 must report that receipt. 11 C.F.R. §§ 104.3, 104.8. Similarly, political

committees, including candidate committees, must report expenditures (including

expenditures by others that are deemed to be made by the campaign because they

are coordinated) exceeding $200. 11 C.F.R. §§ 104.3, 104.9.

      24.    No person may knowingly solicit, accept, or receive a contribution from

a foreign national. 52 U.S.C. § 30121(a)(2); 11 C.F.R. § 110.20(g).

                     Administrative and Judicial Process

      25.    Any person who believes there has been a violation of FECA may file a

sworn complaint with the FEC. 52 U.S.C. § 30109(a)(1). Based on the complaint,

the response from the person or entity alleged to have violated the Act, facts

developed by its Office of General Counsel (“OGC”), and any OGC recommendation,

the FEC decides whether there is “reason to believe” a violation of FECA has

occurred. 52 U.S.C. § 30109(a)(2). A “reason to believe” exists where a complaint

“credibly alleges” a violation of FECA “may have occurred.” FEC, Statement of

Policy Regarding Commission Action in Matters at the Initial Stage in the

Enforcement Process, 72 Fed. Reg. 12,545 (Mar. 16, 2007).

      26.    Under FECA, “any party aggrieved . . . by a failure of the Commission

to act on such complaint during the 120-day period beginning on the date the

complaint is filed, may file a petition” in this Court, and “the court may declare

that . . . the failure to act is contrary to law, and may direct the Commission to

conform with such declaration within 30 days, failing which the complainant may


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    bring, in the name of such complainant, a civil action to remedy the violation

    involved in the original complaint..” 52 U.S.C. §§ 30109(a)(8)(A), (C).

                               FACTUAL BACKGROUND

          27.    On December 16, 2016, Plaintiffs filed a sworn administrative

    complaint with the FEC against the Government of the Russian Federation

    (“Russian Federation”) and Donald J. Trump for President, Inc. (“Trump

    Campaign”), alleging and requesting an investigation into violations of multiple

    provisions of FECA during the 2016 election.

          28.    Plaintiffs filed two amendments to the complaint, on May 3, 2017 and

    June 2, 2017, to provide new information.1

          29.    The administrative complaint, as amended, recited detailed allegations

    regarding Russian political spending prohibited under FECA, and coordination

    between the Trump Campaign and the Russian Federation.

          30.    Some of the allegations in the administrative complaint have been

    examined in separate investigations by other entities. However, critical questions

    raised by the administrative complaint have not been answered by other

    investigations, and remain unanswered. Due to the FEC’s failure to act upon the

    complaint, Plaintiffs lack basic information regarding political spending in the




1The May 3, 2017 amendment completely revised and restated the original
complaint; the June 2, 2017 amendment provided supplemental factual information
and additional counts. For brevity, this complaint uses the term “the administrative
complaint” to refer to the December 16, 2016 administrative complaint as amended
by the May 3, 2017 and June 2, 2017 amendments.

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2016 election that is and was required to be (but has not been) disclosed under

FECA, and which, to this day, is unknown to Plaintiffs or the American public.

     The Russian Influence Campaign’s Conduct Prohibited by FECA

      31.    As set forth in detail in the administrative complaint, the Russian

Federation’s efforts to influence the U.S. election involved conduct prohibited by

FECA including, inter alia, expenditures of funds on activities intended to help

candidate Donald Trump in his presidential campaign against Hillary Clinton.

      32.    In 2016, key members of the Democratic National Committee and

Clinton’s campaign were victimized by a “phishing” attack. The attack involved

communications transmitted directly to the targets in the United States. The

information obtained through the phishing attack permitted hackers to gain access

to thousands of internal Democratic Party and campaign emails stored on U.S.

servers, including those of Clinton’s campaign chairman. Hackers then transmitted

the stolen e-mails to WikiLeaks, a web site that released this information

beginning in the summer of 2016, just before the Democratic National Convention.

The release of these email messages is widely agreed to have had the purpose of

harming Clinton’s electoral chances and of benefitting her competitor Trump.

      33.    As the U.S. government concluded, the phishing attacks, subsequent

hacking of e-mails, and distribution of stolen e-mails to WikiLeaks were performed

by individuals employed or paid by the Russian Federation.

      34.    With the apparent purpose of influencing the 2016 election, the

Russian Federation sponsored cyber intrusions directly into over 20 U.S. state and

local election systems, and successfully penetrated at least four.


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      35.   In addition, the Russian Federation paid individuals to communicate

political messages via social media (such as Facebook) and other means to persons

in the United States, for the purpose of influencing the election.

      36.   A Russian Federation-paid team at a St. Petersburg, Russia-based

entity called the Internet Research Agency posted substantial amounts of pro-

Trump, anti-Clinton material on third-party web sites and communications media,

such as Twitter. Some of these Russian Federation-paid actors used false or

deceptive profiles suggesting that they were American citizens.

      37.   Finally, the Russian Federation paid for political advertisements on

web sites, such as Facebook, regarding the 2016 election.

      38.   Many of these posts use words that in context could have had no other

reasonable meaning than to urge the election of Donald Trump or the defeat of

Hillary Clinton, and/or could only be interpreted by a reasonable person as

containing advocacy of the election of Donald Trump or defeat of Hillary Clinton.

      39.   The Russian Federation and the Trump Campaign concealed their

wrongdoing through deception separate from the FECA violations themselves.

Notably, through at least 2019, agents of the Trump Campaign (including Trump

himself) issued false or misleading public statements, and obstructed official

investigations into this wrongdoing.

                  Coordination Between the Trump Campaign
                             and the Russian Federation

      40.   As set forth in detail in the administrative complaint, the Russian

Federation evinced a clear preference for Trump, and its agents held numerous



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personal connections to the Trump Campaign. By December 2016, the existing

record of public communications between the Trump Campaign and Russian

Federation actors provided a prima facie case warranting a complete FEC

investigation into whether the Russian Federation coordinated its expenditures

with the Trump Campaign in a manner violating FECA.

      41.   On June 27, 2016, in reference to Clinton’s email messages, Donald

Trump stated at a news conference: “Russia, if you’re listening, I hope you’re able

to find the 30,000 emails that are missing. I think you will probably be rewarded

mightily by our press.”

      42.   As set forth in detail in the administrative complaint, close associates

of the Trump Campaign appeared to have advance knowledge of WikiLeaks

publication of stolen e-mails.

      43.   As set forth in detail in the administrative complaint, multiple high-

level members of (and surrogates for) the Trump Campaign had direct and unusual

communications with senior Russian Federation officials.

                      ADMINISTRATIVE PROCEEDINGS

      44.   Plaintiffs filed the administrative complaint with the FEC on

December 16, 2016.

      45.   On or about December 22, 2016, the FEC sent each Plaintiff a letter

acknowledging receipt of the administrative complaint, designating it Matter

Under Review (“MUR”) No. 7207.




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      46.   On May 3, 2017 and on June 2, 2017, Plaintiffs filed amendments to

the complaint providing additional information.

      47.   As amended, the administrative complaint alleged six separate counts

of violations of FECA:

            a. Count I: The Russian Federation, a “foreign national” under 52

               U.S.C. § 30121(b)(1), paid money to computer hackers to gain access

               to Democratic National Committee emails and to transmit those

               emails to WikiLeaks for the purpose of public distribution, for the

               purpose of influencing the outcome of the 2016 presidential election,

               in violation of 52 U.S.C. § 30121(a)(1)(C) and 11 C.F.R. § 110.20(f).

            b. Count II: The Russian Federation paid money to individuals

               operating on social media to post material on others’ web sites to

               promote Trump’s candidacy and/or oppose Clinton’s candidacy, in

               violation of 52 U.S.C. § 30121(a)(1)(C) and 11 C.F.R. § 110.20(f).

            c. Count III: The Russian Federation failed to file any FEC disclosure

               reports regarding its independent expenditures, in violation of 11

               C.F.R. §§ 109.10(b) and (c).

            d. Count IV: The Russian Federation and the Trump Campaign made

               “coordinated communications” with the Trump Campaign in

               violation of 52 U.S.C. § 30121(a)(1)(A) and 11 C.F.R. §§ 110.20(b)

               and 109.22 on the part of the Russian Federation, and 52 U.S.C.

               § 30121(a)(2) and 11 C.F.R. § 110.120(g) on the part of the Trump




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                Campaign; further, the Trump Campaign failed to report such

                communications as in-kind contributions, in violation of 11 C.F.R.

                §§ 104.3(a)-(b) and 109.21(b)(3).

            e. Count V: The Russian Federation paid money to buy

                advertisements on Facebook for the purpose of influencing the

                election, in violation of 52 U.S.C § 30121(a)(1)(C) and 11 C.F.R.

                § 110.20(f).

            f. Count VI: The Russian Federation failed to file disclosure reports

                for monies spent on political advertisements on Facebook that may

                constitute independent expenditures, in violation of 11 C.F.R.

                §§ 109.10(b) and (c).

      48.   The May 2017 amendment to the administrative complaint also

specifically urged that “in light of the potential national security implications of

this case and FECA’s requirement (52 U.S.C. § 30106(f)(3)) that ‘[i]n carrying out

its responsibilities under this Act, the Commission shall, to the fullest extent

practicable, avail itself of the assistance, including personnel and facilities of other

agencies and departments of the United States,’ the FEC should avail itself of the

assistance of such other agencies and departments of the United States as

necessary to conduct a full investigation.”

      49.   The administrative complaint is currently pending before the FEC.




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                                Injury to Plaintiffs

      50.   Due to the Russian Federation’s and Trump Campaign’s failure to

disclose spending, and the FEC’s inaction on the administrative complaint,

Plaintiffs have been deprived of information regarding campaign financing.

      51.   Plaintiffs’ work on campaign finance-related issues—including public

education, litigation, administrative advocacy and enforcement, and legislative

reform efforts—depends on accurate and complete campaign finance reporting as

required by statute. This work is obstructed where, as here, campaign finance

information subject to mandatory disclosure under FECA is not available.

Plaintiffs have a cognizable interest in the underlying information that an entity

making independent expenditures has not accurately or fully disclosed to the FEC.

Without this information, Plaintiffs’ campaign finance advocacy, public education

work, and legislative reform efforts are inhibited. The withholding of information

to which Plaintiffs are legally entitled also forces Plaintiffs to divert resources from

other projects furthering their mission towards efforts to obtain the information.

      52.   Moreover, Plaintiffs also have a right to receive information upon the

FEC’s adjudication of their administrative complaint, including responses received

by the FEC from the respondents, legal and factual analysis by FEC staff, and

other investigatory materials and records. See 52 U.S.C. § 30109(a)(4)(B)(ii); 11

C.F.R. §§ 11 C.F.R. § 5.4(a)(4), 111.20(a); 81 Fed. Reg. 50,702. This information

informs Plaintiffs’ campaign finance programs, including their public education

efforts, regulatory and enforcement practice, and reform efforts. By unlawfully




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delaying resolution of Plaintiffs’ administrative complaint, the FEC has denied

them access to this information to which they are entitled.

      53.   Plaintiffs are also involved in monitoring major social media and other

technology companies (including Facebook) and their practices as they affect our

democracy and elections. Information concerning foreign, coordinated, or other

unlawful payments made to technology companies to influence the 2016 election,

as alleged in the administrative complaint, would inform Plaintiffs’ efforts to

educate their members and the public regarding these companies’ business

practices, and to propose and advocate for legal reforms to such practices.

      54.   The information that Plaintiffs lack includes information that the

Russian Federation and/or the Trump Campaign were obliged to report to the FEC,

and the FEC was obliged to make public, including but not limited to:

            a. With respect to the Russian Federation’s independent expenditures

               aggregating over $250 with respect to a given election in a calendar

               year, and in accordance with 11 C.F.R. § 109.10:

                   i. The reporting person’s name, mailing address, occupation,

                      and the name of his or her employer, if any;

                  ii. The identification (name and mailing address) of the person

                      to whom the expenditure was made;

                  iii. The amount, date, and purpose of each expenditure;

                  iv. A statement that indicates whether such expenditure was in

                      support of, or in opposition to a candidate, together with the




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                candidate's name and office sought; if the expenditure meets

                the criteria set forth in 11 C.F.R. § 104.3(b)(3)(vii)(C), the

                states in which the communication was distributed;

            v. Whether such expenditure was made in cooperation,

                consultation, or concert with, or at the request or suggestion

                of a candidate, a candidate’s authorized committee, or their

                agents, or a political party committee or its agents; and

           vi. The identification of each person who made a contribution in

                excess of $200 to the person filing such report, which

                contribution was made for the purpose of furthering the

                reported independent expenditure.

           vii. The date of public distribution or dissemination, in

                accordance with Schedule 5-E of FEC Form 5.

      b. With respect to those “expenditures” by the Russian Federation

         (whether or not they constituted “independent expenditures”) that

         were coordinated with the Trump Campaign under 11 C.F.R.

         § 109.20(b), or that constituted payments for coordinated

         communications under 11 C.F.R. § 109.21, each person to whom an

         expenditure was made in an aggregate amount or value in excess of

         $200, together with the date, amount and purpose of each

         expenditure, in accordance with 11 C.F.R. § 104.3.

55.   To this day, Plaintiffs do not have this information.




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      56.   Plaintiffs’ need for this information is ongoing, despite the passage of

time. If Plaintiffs had access to this information, they would use it in some or all

the following ways:

            a. Publicizing the disclosed information to the general public via

                Plaintiffs’ web sites and on social media.

            b. Analyzing trends and patterns in the spending, and publicizing

                their analyses through research reports and in major news media.

            c. Using the information and analyses to (1) determine whether to

                propose further federal or state legislation or oversight, and (2)

                brief legislators accordingly.

            d. Analyzing the recipients of the payments to determine how to

                engage with them.

            e. Other uses that can only be determined after reviewing the

                information.

      57.   The Russian Federation and the Trump Campaign are still, as of

today, obligated to disclose this information to the FEC, which in turn is required

to make it public.

      58.   Due to both the Russian Federation and the Trump Campaign’s

underlying violations, and the FEC’s failure to enforce the reporting, disclosure,

and transparency requirements of FECA, Plaintiffs have not had access to

information regarding campaign financing.




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      59.   Plaintiffs have not had the opportunity to disseminate this information

to their members or supporters, and have not had the opportunity to act on the

information. Plaintiffs lacked this information during the 2018 and 2020 election

cycles, when it could have been useful in informing their work on campaign

finance-related issues, and continue to lack it as the 2022 election approaches.

      60.   Both the Russian Federation and the Trump Campaign have been

active in federal elections since the filing of the administrative complaint. In both

2018 and 2020, the Russian Federation attempted to influence U.S. federal

elections. In 2020, Trump mounted an unsuccessful run for re-election.

      61.   Because Plaintiffs lacked (and continue to lack) the information that

was required to be disclosed in the 2016 election as alleged in the administrative

complaint, they did not have the opportunity to disseminate this information to

their members or supporters, or to otherwise act upon it, during the past nearly

five years during which the information could have been useful in informing their

work on campaign finance-related issues.

      62.   The continued federal political activity of both the Russian Federation

and the Trump Campaign, and the significant risk of future harm, highlights

Plaintiffs’ ongoing need for the information that they failed to disclose previously.

                               CAUSE OF ACTION

                  Count I—FECA (Failure to Act on Complaint)

      63.   Plaintiffs reallege and incorporate by reference all preceding

paragraphs as if fully set forth herein.

      64.   The FEC has failed to act on Plaintiffs’ administrative complaint.


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       65.   The FEC’s failure is contrary to law under 52 U.S.C. § 30109(a)(8)(A).

                              REQUESTED RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court:

   a) Declare that the FEC’s failure to act on Plaintiffs’ administrative complaint

      was contrary to law under 52 U.S.C. § 30109(a)(8)(A);

   b) Order the FEC to conform with this declaration within 30 days, under 52

      U.S.C. §§ 30109(a)(8)(A)-(C), failing which Plaintiffs may bring, in their own

      names, a civil action to remedy the violation involved in the original

      complaint, under § 30109(a)(8)(C);

   c) Award legal fees and costs of suit incurred by Plaintiffs; and

   d) Grant such other and further relief as this Court deems just and proper.

                                       Respectfully submitted,

                                      /s/ Ronald A. Fein
December 8, 2021                      Ronald A. Fein (D.D.C. Bar No. MA0012)
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                                      *Motion for pro hac vice admission
                                      forthcoming




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